               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                No.   5&56RK

                           Plaintiff,    COUNT 1
      v.                                 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and 846
                                         NLT 10 Years Imprisonment
(01) BRIDGETT J. RODRIGUEZ a.k.a.        NMT Life Imprisonment
BRIDGETT J. HANEY                        NMT $10 Million Fine
[DOB: 07-02-1980],                       NLT 5 Years Supervised Release
                                         Class A Felony
(02) KYLE A. SHIPLEY,
[DOB: 07-12-1986],                       COUNTS 2, 6, 7, 9, 11, and 16
                                         21 U.S.C. § 841(a)(1) and (b)(1)(B)
(03) RICKEY E. ROSE,                     NLT 5 Years Imprisonment
[DOB: 03-14-1987],                       NMT 40 Years Imprisonment
                                         NMT $5,000,000 Fine
      and                                NLT 4 Years Supervised Release
                                         Class B Felony
(04) AMBER N. BOLIN,
[DOB: 10-26-1980],                       COUNTS 3, 5, 14, and 17
                                         18 U.S.C. §§ 922(g)(1) and 924(a)(2)
                           Defendants.   NMT 10 Years Imprisonment
                                         NMT $250,000 Fine
                                         NMT 3 Years Supervised Release
Defendants/Counts:                       Class C Felony
(01) Rodriguez: 1, 8-17, and FA
(02) Shipley: 1 and 11                   COUNTS 4, 8, 10, 12, and 15
(03) Rose: 1, and 3-5                    21 U.S.C. § 841(a)(1) and (b)(1)(C)
(04) Bolin: 1, 2, and 6-9                NMT 20 Years Imprisonment
                                         NMT $1 Million Fine
                                         NLT 3 Years Supervised Release
                                         Class C Felony

                                         COUNT 13
                                         18 U.S.C. § 924(c)(1)(A)
                                         NLT 5 Years Imprisonment
                                         (consecutive to All Counts)
                                         NMT Life Imprisonment
                                         NMT $250,000 Fine
                                         NMT 5 Years Supervised Release
                                         Class A Felony




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                                                     FORFEITURE ALLEGATION
                                                     21 U.S.C. § 853

                                                     $100 Special Assessment (Each Count)

                                      INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                           COUNT 1
             (Conspiracy to Distribute 500 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                         21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and 846

       Beginning on an unknown date, but at least as early as October 23, 2020, and continuing

to on or about June 29, 2021, said dates being approximate, in Greene County, in the Western

District of Missouri, and elsewhere, the defendants, BRIDGETT J. RODRIGUEZ a.k.a.

BRIDGETT J. HANEY, KYLE A. SHIPLEY, RICKEY E. ROSE, and AMBER N. BOLIN,

knowingly and intentionally conspired and agreed with each other and with others, known and

unknown to the Grand Jury, to distribute 500 grams or more of a mixture or substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Section 841(a)(1) and (b)(1)(A), all in violation of Title 21, United States

Code, Section 846.

                                           COUNT 2
                  (Distribution of 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                               21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about October 29, 2020, in Greene County, in the Western District of Missouri, the

defendant, AMBER N. BOLIN, knowingly and intentionally distributed 50 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(B).

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                                            COUNT 3
                           (Possession of Firearm by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about October 29, 2020, in Greene County, in the Western District of Missouri, the

defendant, RICKEY E. ROSE, then knowing he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly possessed a firearm, to wit:

a Jennings .22 caliber firearm, serial number unknown, and the firearm was in and affecting

interstate commerce, all in violation of Title 18, United States Code, Sections 922(g)(1) and

924(a)(2).

                                            COUNT 4
                     (Distribution of Any Amount of a Mixture or Substance
                     Containing a Detectable Amount of Methamphetamine)
                                21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about December 9, 2020, in Greene County, in the Western District of Missouri, the

defendant, RICKEY E. ROSE, knowingly and intentionally distributed any amount of a mixture

or substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, all in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).

                                           COUNT 5
                          (Possession of Firearms by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about December 9, 2020, in Greene County, in the Western District of Missouri, the

defendant, RICKEY E. ROSE, then knowing he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly possessed firearms, to wit:

(1) a High Standard, Model Dura-Matic M101, .22 caliber LR, bearing serial number 792665; and

(2) a Hi-Point, Model C9, 9mm semi-automatic handgun, bearing serial number P10072081, and

the firearms were in and affecting interstate commerce, all in violation of Title 18, United States

Code, Sections 922(g)(1) and 924(a)(2).

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                                           COUNT 6
                  (Distribution of 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                               21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about December 9, 2020, in Greene County, in the Western District of Missouri, the

defendant, AMBER N. BOLIN, knowingly and intentionally distributed 50 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(B).

                                           COUNT 7
                  (Distribution of 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                               21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about January 15, 2021, in Greene County, in the Western District of Missouri, the

defendant, AMBER N. BOLIN, knowingly and intentionally distributed 50 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(B).

                                           COUNT 8
                     (Distribution of Any Amount of a Mixture or Substance
                     Containing a Detectable Amount of Methamphetamine)
                      21 U.S.C. § 841(a)(1) and (b)(1)(C) and 18 U.S.C. § 2

       On or about February 25, 2021, in Greene County, in the Western District of Missouri, the

defendants, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY and AMBER N.

BOLIN, aiding and abetting each other, knowingly and intentionally distributed any amount of a

mixture or substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(C), and Title 18, United States Code, Section 2.

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                                          COUNT 9
                  (Distribution of 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                     21 U.S.C. § 841(a)(1) and (b)(1)(B) and 18 U.S.C. § 2

       On or about March 31, 2021, in Greene County, in the Western District of Missouri, the

defendants, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY and AMBER N.

BOLIN, aiding and abetting each other, knowingly and intentionally distributed 50 grams or more

of a mixture or substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(B), and Title 18, United States Code, Section 2.

                                           COUNT 10
                     (Distribution of Any Amount of a Mixture or Substance
                            Containing a Detectable Amount of LSD)
                                21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about March 31, 2021, in Greene County, in the Western District of Missouri, the

defendant, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, knowingly and

intentionally distributed any amount of a mixture or substance containing a detectable amount of

lysergic acid diethylamide (LSD), a Schedule I controlled substance, all in violation of Title 21,

United States Code, Section 841(a)(1) and (b)(1)(C).

                                          COUNT 11
                  (Distribution of 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                     21 U.S.C. § 841(a)(1) and (b)(1)(B) and 18 U.S.C. § 2

       On or about April 15, 2021, in Greene County, in the Western District of Missouri, the

defendants, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY and KYLE A.

SHIPLEY, aiding and abetting each other, knowingly and intentionally distributed 50 grams or

more of a mixture or substance containing a detectable amount of methamphetamine, a Schedule




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II controlled substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(B), and Title 18, United States Code, Section 2.

                                           COUNT 12
                     (Distribution of Any Amount of a Mixture or Substance
                     Containing a Detectable Amount of Methamphetamine)
                                21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about June 15, 2021, in Greene County, in the Western District of Missouri, the

defendant, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, knowingly and

intentionally distributed any amount of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, all in violation of Title 21, United States

Code, Section 841(a)(1) and (b)(1)(C).

                                           COUNT 13
                (Possession of Firearm in Furtherance of Drug Trafficking Crime)
                                    18 U.S.C. § 924(c)(1)(A)

       On or about June 15, 2021, in Greene County, in the Western District of Missouri, the

defendant, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, did knowingly

possess a firearm, to wit: a Cobra, Model CL22M, bearing serial number 125392, in furtherance

of drug trafficking crimes for which she may be prosecuted in a court of the United States, that is,

conspiracy to distribute 500 grams or more of a mixture or substance containing a detectable

amount of methamphetamine, as alleged in Count 1, and distribution of a mixture or substance

containing a detectable amount of methamphetamine, as alleged in Count 12, in violation of Title

18, United States Code, Section 924(c)(1)(A).

                                           COUNT 14
                           (Possession of Firearm by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about June 15, 2021, in Greene County, in the Western District of Missouri, the

defendant, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, then knowing she had

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previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

knowingly possessed a firearm, to wit: a Cobra, Model CL22M, bearing serial number 125392,

and the firearm was in and affecting interstate commerce, all in violation of Title 18, United States

Code, Sections 922(g)(1) and 924(a)(2).

                                           COUNT 15
                   (Possession with Intent to Distribute a Mixture or Substance
                           Containing a Detectable Amount of Heroin)
                               21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about June 29, 2021, in Greene County, in the Western District of Missouri, the

defendant, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, knowingly and

intentionally possessed, with intent to distribute, any amount of a mixture or substance containing

a detectable amount of heroin, a Schedule I controlled substance, all in violation of Title 21, United

States Code, Section 841(a)(1) and (b)(1)(C).

                                           COUNT 16
                (Possession with Intent to Distribute 1 Gram or More of a Mixture
                     or Substance Containing a Detectable Amount of LSD)
                               21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about June 29, 2021, in Greene County, in the Western District of Missouri, the

defendant, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, knowingly and

intentionally possessed, with intent to distribute, 1 gram or more of a mixture or substance

containing a detectable amount of lysergic acid diethylamide (LSD), a Schedule I controlled

substance, all in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B).

                                           COUNT 17
                           (Possession of Firearm by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about June 29, 2021, in Greene County, in the Western District of Missouri, the

defendant, BRIDGETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, then knowing she had



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previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

knowingly possessed a firearm, to wit: Sarsilmaz (Sar Arms), Model SAR B6P, 9mm semi-

automatic handgun, bearing serial number T1102-14G00713, and the firearm was in and affecting

interstate commerce, all in violation of Title 18, United States Code, Sections 922(g)(1) and

924(a)(2).

                                 FORFEITURE ALLEGATION

       The allegations contained in Count 1 of this Indictment are re-alleged and incorporated by

reference for the purpose of alleging a forfeiture pursuant to the provisions of Title 21, United

States Code, Section 853.

       Upon conviction of the controlled substance offense alleged in Count 1 of this Indictment,

the defendant, BRIDETT J. RODRIGUEZ a.k.a. BRIDGETT J. HANEY, shall forfeit to the

United States all property, real and personal, constituting, or derived from, proceeds obtained,

directly and indirectly, as a result of the violations incorporated by reference in this Allegation and

all property used, or intended to be used, in any manner or part, to commit, and to facilitate the

commission of the violations alleged in Count 1 of this Indictment, including, but not limited to a

money judgment against the defendant individually representing the proceeds that she obtained

directly and indirectly as a result of her participation in the drug conspiracy alleged in Count 1.

                                     SUBSTITUTE ASSETS

       If any of the property described above, as a result of any act or omission of the defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or



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               e.      has been commingled with other property which cannot be divided without

               difficulty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p).

       All in accordance with Title 21, United States Code, Section 853, and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

                                              A TRUE BILL



                                               /s/ Monica Stone
                                              ____________________________________
                                              FOREPERSON OF THE GRAND JURY



 /s/ Jessica R. Sarff
______________________________
JESSICA R. SARFF
Assistant United States Attorney

DATED: 1/26/2022
       Springfield, Missouri




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